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                             UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF CALIFORNIA
                                SAN FRANCISCO DIVISION


 WAYMO LLC,                                   CASE NO. 3:17-cv-00939-WHA
              Plaintiff,                      PUBLIC RE-FILING IN RESPONSE TO
           v.                                    COURT ORDER GRANTING IN PART
                                              AND DENYING IN PART
    UBER TECHNOLOGIES, INC.;                     ADMINISTRATIVE MOTION TO FILE
 OTTOMOTTO LLC; OTTO TRUCKING                 UNDER SEAL (DKT NO. 890)
    LLC,
                                              Re: Dkt. No. 666
              Defendants.
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                                        PUBLIC RE-FILING OF DOCUMENT(S) PREVIOUSLY FILED UNDER SEAL
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 1         On July 13, 2017, the Court ordered (Dkt. No. 890) Waymo to file public versions of the

 2 following document:

 3               Waymo’s Reply in Support of its June 15, 2017 Letter Brief Regarding Privilege

 4                Issues (Dkt. No. 666-3).

 5         Waymo hereby files public versions of the documents in issue.

 6
     DATED: July 20, 2017                      QUINN EMANUEL URQUHART & SULLIVAN,
 7                                             LLP
 8
                                                 By       /s/Charles K. Verhoeven
 9                                                 Charles K. Verhoeven
                                                   Attorneys for WAYMO LLC
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